






Opinion issued February 15, 2007









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-01009-CV

____________


TRINH BUI D/B/A/ KEY REXALL DRUGS, Appellant


V.


WEINGARTEN REALTY INVESTORS, Appellee






On Appeal from the 270th District Court

Harris County, Texas

Trial Court Cause No. 2005-46760






MEMORANDUM OPINION

	Appellant has filed an unopposed motion to dismiss his appeal.  No opinion has
issued.  Accordingly, the motion is granted and the appeal is dismissed.  Tex. R. App.
P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Nuchia, Keyes, and Higley.


